Case 6:19-cv-01333-RBD-EJK Document 61 Filed 02/07/20 Page 1 of 2 PageID 1000



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

NICHIA CORPORATION,

       Plaintiff,

v.                                                      Case No. 6:19-cv-1333-Orl-37EJK

LIGHTING SCIENCE GROUP CORP.,

       Defendant.


                                         ORDER

      The Court held a hearing on Defendant’s motion for leave to add third-party

defendants. (Doc. 49 (“Third-Party Motion”); Doc. 59 (“Hearing”).) Defendant also

moved to extend the deadlines in the Case Management and Scheduling Order (Doc. 40

(“CMSO”); see also Docs. 46, 48). (Doc. 58 (“CMSO Motion”).) Having considered the

parties’ filings and oral arguments, the Court pronounced its ruling at the Hearing,

granting the Third-Party Motion and extending the deadlines in the CMSO by 60 days.

In granting the motions, however, the Court cautioned Defendant it was reserving the

right to sever the third-party claims or stay them if they impede the progress of the case—

and the Court is reluctant to grant any further extensions of the CMSO deadlines. This

Order memorializes the Court’s oral pronouncement.

       It is ORDERED AND ADJUDGED:

       1.     Defendant’s Motion for Leave to Add Third-Party Defendants and Serve a

              Third-Party Complaint (Doc. 49) is GRANTED.
                                               -1-
Case 6:19-cv-01333-RBD-EJK Document 61 Filed 02/07/20 Page 2 of 2 PageID 1001



      2.    Defendant’s Motion to Modify Case Management and Scheduling Order

            (Doc. 58) GRANTED IN PART AND DENIED IN PART.

            a.      The deadlines in the CMSO are extended by 60 days.

            b.      In all other respects, the motion is DENIED.

      3.    The Court will enter an amended Case Management and Scheduling Order

            by separate order.

      DONE AND ORDERED in Chambers in Orlando, Florida, on February 6, 2020.




Copies to:
Counsel of Record




                                             -2-
